     Case 1:18-cr-00246-TLN-BAM Document 49 Filed 02/07/19 Page 1 of 2


1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    2300 Tulare Street, Suite 330
     Fresno, CA 93721-2226
4    Telephone: 559.487.5561/Fax: 559.487.5950
5    Attorney for Defendant
     JOSE LOZANO
6
7
8                             IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                   )   Case No. 1:18-cr-00246 DAD-BAM
                                                  )
12                    Plaintiff,                  )   WAIVER OF DEFENDANT’S PERSONAL
                                                  )   PRESENCE; ORDER
13    vs.                                         )   THEREON
                                                  )
14    JOSE LOZANO,                                )
                                                  )
15                   Defendant.                   )   Judge: Hon. Barbara A. McAuliffe
                                                  )
16                                                )

17
18          Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, Jose Lozano, having been advised of

19   his right to be present at all stages of the proceedings, hereby requests that this Court proceed in

20   his absence on every occasion that the Court may permit, pursuant to this waiver. Defendant

21   agrees that his interests shall be represented at all times by the presence of his attorney, the

22   Office of the Federal Defender for the Eastern District of California, the same as if Defendant

23   were personally present, and requests that this court allow his attorney-in-fact to represent his

24   interests at all times. Defendant further agrees that notice to Defendant's attorney that

25   Defendant's presence is required will be deemed notice to the Defendant of the requirement of

26   his appearance at said time and place.

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     Case 1:18-cr-00246-TLN-BAM Document 49 Filed 02/07/19 Page 2 of 2


1           Mr. Lozano makes this request because he resides in Pomona, California, and wishes to
2    minimize the time and expense involved in traveling to Fresno for non-dispositive hearings.
3    Assistant United States Attorney Angela Scott has no objection to this request.
4
5    DATED: February 6, 2019                       /s/ Jose Lozano
                                                  JOSE LOZANO,
6                                                 Defendant
7
8    DATED: February 6, 2019                      /s/ Eric V. Kersten
                                                  ERIC V. KERSTEN
9                                                 Assistant Federal Defender
                                                  Attorney for
10                                                JOSE LOZANO

11
12
13                                              ORDER

14          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s

15   appearance may be waived at all non-substantive pretrial proceedings until further order.

16
17   IT IS SO ORDERED.

18
        Dated:     February 7, 2019                          /s/ Barbara A. McAuliffe              _
19                                                    UNITED STATES MAGISTRATE JUDGE
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